Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 1 of 17 Page ID #:769




                          UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION



   WALTER EMANNUEL MARTIN,                  No. CV 23-04642-VBF (DFM)

             Plaintiff,                    ORDER DISMISSING FIRST
                                           AMENDED COMPLAINT WITH
                v.                         LEAVE TO AMEND

   TAMILA JENSEN, Esq. et al.,

             Defendants.



        Plaintiff Walter Emmanuel Martin filed a pro se civil rights action under
  42 U.S.C. § 1983, alleging that Defendants violated state and federal law in
  connection with a state probate matter. See Dkt. 20, First Amended Complaint
  (“FAC”).
        Before the Court are Defendants motions to dismiss and strike the FAC.
  See Dkts. 24 (“Jensen MTS”), 25 (“Jensen MTD”), 26 (“Aivazi MTD”), 27
  (“Aivazi MTS”), 45 (“Judicial MTD”), 48 (“Barbosa MTD”). Plaintiff filed
  oppositions. See Dkts. 42 (“Jensen Opp’n”), 44 (“Aivazi Opp’n”), 55
  (“Judicial Opp’n”), 56 (“Barbosa Opp’n”). Two Defendants filed replies. See
  Dkts. 47 (“Jensen Reply”), 57 (“Judicial Reply”).
        For the reasons set forth below, the FAC is dismissed with leave to
  amend.
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 2 of 17 Page ID #:770




                                     BACKGROUND
        This lawsuit arises out of a conservatorship action filed on behalf of
  Plaintiff’s brother, Rex Martin (“Rex”), in the Superior Court of California,
  County of Los Angeles, Case No. 18AVPB00069 (“the Probate Action”).1
        The Probate Action concerns the Gesner L. Martin Living Trust (“the
  Trust”). See FAC ¶ 18. Gesner Martin, who was Plaintiff’s mother, had three
  children, including Rex. See id. ¶ 19. Rex died on August 21, 2020. See id. The
  Trust provides that Plaintiff would serve as successor trustee following Gesner
  Martin, and that neither Rex nor any of his children, including Chevon Martin
  (“Chevon”), should ever be appointed trustee. See id. Gesner Martin presided
  over the Trust until March 23, 2013, after which Plaintiff was appointed as
  successor trustee. See id. ¶ 18.
        On March 6, 2019, the Honorable Scott Nord, Commissioner of the
  Superior Court (“Commissioner Nord”), entered an order in the Probate
  Action removing Plaintiff as trustee but appointed no successor trustee. See id.
  ¶ 22. Plaintiff had no knowledge of that order until April 2023. See id. ¶ 23. In
  May 2023, Plaintiff filed an ex parte motion to vacate Commissioner Nord’s
  order. See id. On July 3, the Honorable Stephen Morgan, Judge of the
  Superior Court (“Judge Morgan”), denied Plaintiff’s motion to vacate with
  prejudice and appointed attorney Tamila Jensen (“Jensen”) to act as counsel


        1
          The docket in the Probate Action is accessible online by case number
  from the Superior Court’s webpage. See
  https://www.lacourt.org/casesummary/ui/casesummary.aspx?casetype=prob
  ate (search for “18AVPB00069”). There is also a related case on a competing
  petition to appoint a conservator for Rex filed by petitioner Parish Monte that
  was also filed in the Superior Court. See
  https://www.lacourt.org/casesummary/ui/casesummary.aspx?casetype=prob
  ate (search for “18STPB05243”).


                                          2
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 3 of 17 Page ID #:771




  for Rex. See id. ¶ 24 & Ex. A.
        Also on July 3, 2023, the Honorable Brenda Penny, Judge of the
  Superior Court (“Judge Penny”), entered an order, file stamped by David W.
  Slayton, Court Executive Officer (“Slayton”), ordering that Jensen be
  authorized to see Rex’s medical records and be compensated by the Trust at a
  rate no less than $250 per hour. See id. ¶ 25 & Ex. B.2 On July 10, Judge
  Morgan discharged Jensen due to a conflict and appointed attorney Candance
  Jones on behalf of Rex. See id. ¶ 27 & Ex. C. On July 14, Judge Morgan
  vacated the order appointing Jones and instead appointed attorney Mario
  Andre Pacione. See id. ¶ 28 & Ex. D. On July 21, Chevon filed a petition to
  remove Plaintiff as trustee. See id. ¶ 20.
        Plaintiff alleges that Defendants engaged in various nefarious acts,
  including, but not limited to, defrauding the Trust, defrauding the court in the
  Probate Action, filing false claims, and kidnapping and causing the untimely
  death of Rex. See id. ¶¶ 94-199. Based on that conduct, Plaintiff brings claims
  for violation of RICO, 18 U.S.C. §§ 1962(a) and 1964(c); conspiracy to
  defraud; wire and mail fraud; breach of fiduciary duty; civil conspiracy;
  fraudulent misrepresentation; unjust enrichment, conversion, intentional
  infliction of emotional distress, deprivation of rights under 42 U.S.C. § 1983,
  and punitive damages under Cal. Civ. Code § 3294(c). See FAC ¶¶ 208-346.
                                 LEGAL STANDARD
        A Rule 12(b)(6) motion tests the legal sufficiency of the claims asserted


        2
         Plaintiff also names as Defendants the Honorable Samantha P. Jessner,
  Presiding Judge of the Superior Court, and the Los Angeles County Probate
  Department. See FAC ¶¶ 3, 4. The Court refers to those Defendants, along
  with Commissioner Nord, Slayton, and Judges Morgan and Penny, as the
  “Judicial Defendants.”


                                           3
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 4 of 17 Page ID #:772




  in a complaint. See Fed. R. Civ. P. 12(b)(6). Rule 12(b)(6) must be read in
  conjunction with Rule 8(a), which requires a “‘short and plain statement’ of
  the grounds for jurisdiction and the claim, as well as a demand for relief
  sought.” Knapp v. Hogan, 738 F.3d 1106, 1109 (9th Cir. 2013) (quoting Fed.
  R. Civ. P. 8(a)). This standard is a liberal one that does not require the plaintiff
  to set forth all the factual details of his claim; rather, it requires only that the
  plaintiff give the defendant fair notice of the claim and the grounds for making
  that claim. Leatherman v. Tarrant Cnty. Narcotics Intel. & Coordination Unit,
  507 U.S. 163, 168 (1993) (citing Conley v. Gibson, 355 U.S. 41, 47 (1957)).
        While Rule 8 does not demand detailed factual allegations, “it demands
  more than an unadorned, the defendant-unlawfully-harmed-me accusation.”
  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Threadbare recitals of the
  elements of a cause of action, supported by mere conclusory statements, do not
  suffice.” Id. Instead, a complaint “must contain sufficient factual matter,
  accepted as true, to state a claim to relief that is plausible on its face.” Id.
  (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is
  plausible “when the plaintiff pleads factual content that allows the court to
  draw the reasonable inference that the defendant is liable for the misconduct
  alleged.” Id. (citing Twombly, 550 U.S. at 556).
        In resolving a Rule 12(b)(6) motion, courts must interpret the facts
  alleged in the complaint in the light most favorable to the plaintiff, while also
  accepting all well-pleaded factual allegations as true. See Shwarz v. United
  States, 234 F.3d 428, 435 (9th Cir. 2000). Courts need not, however, accept
  legal conclusions as true. See Iqbal, 556 U.S. at 678. Indeed, the Supreme
  Court has explicitly stated that complaints consisting only of “labels and
  conclusions” or “formulaic recitation[s] of the elements of a cause of action
  will not do.” Twombly, 550 U.S., at 555; see also Iqbal, 556 U.S. at 678. Nor
  will a complaint suffice if it presents nothing more than “naked assertions”


                                             4
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 5 of 17 Page ID #:773




  without “further factual enhancement.” Twombly, 550 U.S. at 557.
        A pro se plaintiff’s pleadings are liberally construed to afford the plaintiff
  “the benefit of any doubt.” Akhtar v. Mesa, 698 F.3d 1202, 1212 (9th Cir.
  2012) (citation omitted). This is especially true in civil rights cases. See id.
  Courts do not, however, serve as advocates on behalf of pro se litigants in
  attempting to decipher a complaint or read in claims that do not exist. See Noll
  v. Carlson, 809 F.2d 1446, 1448 (9th Cir. 1987). Furthermore, although pro se
  litigants are held to less stringent standards than a lawyer, they are not excused
  from following basic pleading requirements. See Woods v. Carey, 525 F.3d
  886, 889-90 (9th Cir. 2008).
                                      DISCUSSION
        Defendants filed several motions, including two motions to strike and
  four motions to dismiss. The Court has organized this Order in a way that
  promotes efficiency. Ultimately, the Court finds that Plaintiff’s FAC is
  deficient in various respects and dismisses it with leave to amend.
        Standing
        All Defendants argue that Plaintiff lacks standing. See Jensen MTD at
  14-15; Aivazi MTD at 9-10; Judicial MTD at 10 n.1; Barbosa MTD at 8.
  Plaintiff contends that he has standing as a former trustee, “de facto trustee,”
  or as a beneficiary. See Jensen Opp’n at 5-8.
        “To demonstrate Article III standing, a plaintiff must satisfy three
  ‘irreducible constitutional minimum’ requirements: (1) he or she suffered an
  injury in fact that is concrete, particularized, and actual or imminent; (2) the
  injury is fairly traceable to the challenged conduct; and (3) the injury is likely
  to be redressed by a favorable court decision.” Washington Envtl. Council v.
  Bellon, 732 F.3d 1131, 1139-40 (9th Cir. 2013) (quoting Lujan v. Def. of
  Wildlife, 504 U.S. 555, 561 (1992)).



                                            5
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 6 of 17 Page ID #:774




        A standing inquiry accordingly focuses on whether the plaintiff is the
  proper party to bring the lawsuit. See Raines v. Byrd, 521 U.S. 811, 818 (1997).
  Under Federal Rule of Civil Procedure 17(a), “[a]n action must be prosecuted
  in the name of the real party in interest,” such as the trustee of an express trust.
  “In general, it is the person holding title to the claim or property involved”
  who is the real party in interest. U-Haul Int’l, Inc. v. Jartran, Inc., 793 F.2d
  1034, 1038 (9th Cir. 1986).
        Plaintiff’s role, his allegations, and the remedies sought are keys to
  answering the threshold question of standing. Plaintiff alleges that he became
  successor trustee in 2012, after his mother resigned. See FAC ¶ 18. Plaintiff
  was removed as trustee per Commissioner Nord’s August 23, 2019 order in the
  Probate Action. See id. ¶ 22. Plaintiff moved to vacate that order in April 2023,
  but was unsuccessful. See id. ¶ 23. Plaintiff has thus not been a trustee since
  August 2019, more than four years ago. Nevertheless, Plaintiff’s FAC alleges
  that Defendants have acted and interfered in ways that have damaged the
  Trust, not solely Plaintiff as an individual. See, e.g., id. ¶¶ 30 (“Defendants . . .
  have conspired to defraud, defrauded, and continue defrauding the Trust of
  funds.”), 33 (“The LACPD is intimately involved in the RICO enterprise that
  has scammed and defrauded the GLM Trust.”), 94-124 (alleging acts
  Defendants took to defraud the Trust). And although Plaintiff seeks monetary
  damages, they are predominantly for actions Defendants took that are
  connected to the administration and maintenance of the Trust.
        This is a problem. “As a general rule, the trustee is the real party in
  interest with standing to sue and defend on the trust’s behalf,” although a trust
  beneficiary “can bring a proceeding against a trustee for breach of trust.”
  Estate of Bowles, 169 Cal. App. 4th 684, 691 (2008); see also Moeller v.
  Superior Court (1997) 16 Cal. 4th 1124, 1132 n.3 (1997) (explaining that under
  California law, the “trust is not an entity separate from the trustees,” and “the


                                            6
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 7 of 17 Page ID #:775




  trustee, rather than the trust, is the real party in interest in litigation involving
  trust property.”). Additionally, a non-attorney has no authority to appear as an
  attorney on behalf of a trust. See C.E. Pope Equity Trust v. US, 818 F.2d 696,
  967-98 (9th Cir. 1987) (“Although a non-attorney may appear in propria
  persona in his own behalf, that privilege is personal to him.”).
        In short, because Plaintiff is no longer a trustee and is proceeding pro se,
  he is not permitted to sue on behalf of the Trust. He may, however, bring
  claims on behalf of himself. Ultimately, it is not clear from the FAC what
  Plaintiff seeks to accomplish as a former trustee, or how. If Plaintiff decides to
  amend, his claims and remedies sought should be connected to his role as a
  beneficiary and individual, not to his former position as trustee.
        Litigation Privilege
        Jensen and Aivazi both assert an affirmative defense of immunity from
  Plaintiff’s state law claims based on California’s litigation privilege, Cal. Civil
  Code § 47(b). See Jensen MTD at 10-13; Aivazi MTD at 17.
        The privilege applies to any communication “(1) made in judicial or
  quasi-judicial proceedings; (2) by litigants or other participants authorized by
  law; (3) to achieve the objects of the litigation; and (4) that ha[s] some
  connection or logical relation to the action.” Mansell v. Otto, 108 Cal. App.
  4th 265 (2003). “The California courts have applied the privilege quite
  expansively.” Rodriguez v. Panayiotou, 314 F.3d 979, 988 (9th Cir. 2002)
        The privilege “immunizes defendants from virtually any tort liability
  (including claims for fraud), with the sole exception of causes of action for
  malicious prosecution.” Olsen v. Harbison, 191 Cal. App. 4th 325 (2010). It
  does not apply to federal claims, including RICO. See Religious Tech. Ctr. v.
  Wollersheim, 971 F.2d 364, 367 n.10 (9th Cir. 1992); Oei v. N Star Capital
  Acquisitions, LLC, 486 F. Supp. 2d 1089, 1098 (C.D. Cal. 2006) (noting that is
  “well settled” that the privilege “does not apply to federal causes of action”).


                                             7
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 8 of 17 Page ID #:776




        Here, there is no question that the privilege applies. On March 8, 2018,
  the Superior Court appointed Jensen to act as counsel for Rex, the proposed
  conservatee. See Dkt. 25-2, Request for Judicial Notice (“RJN”), Ex. A. On
  December 18, Jensen was discharged from her position at the conclusion of her
  legal services for Rex. See id., Ex. D. Plaintiff’s claims against Jensen concern
  her participation in the Probation Action as counsel for Rex and her purported
  representations and statements to the court in that proceeding. See FAC ¶¶ 32,
  51, 55, 78, 83, 90, 94, 95, 128-32, 135, 139-40, 143, 146, 149, 151, 156-58, 165,
  167, 173, 176, 208, 225, 227-28, 242, 245, 251, 263, 270, 273, 277, 279, 283,
  286, 295, 302-03, 313, 319, 326, 334. Similarly, Plaintiff alleges that Aivazi
  defrauded the Trust and made false statements in a separate habitability
  lawsuit. See FAC ¶¶ 51-53, 85, 87, 89-91, 95-100, 107, 114-115, 120.
        Plaintiff argues that the privilege does not apply because Defendants’
  fraud goes “far deeper” than any statements made in judicial proceedings.
  Whatever that might mean, the broad nature of the privilege extends to non-
  communicative acts that are related to the communicative act at issue. See
  Rusheen v. Cohen, 37 Cal. 4th 1048, 1062 (2006) (holding that where the
  gravamen of the complaint is a “privileged communication, the privilege
  extends to necessarily related acts”); Komarova v. Nat’l Credit Acceptance,
  Inc., 175 Cal. App. 4th 324, 336 (2009) (“[T]he litigation privilege is absolute
  and applies regardless of malice.”). The FAC does not allege any acts that
  Jensen or Aivazi took that were unrelated to litigation.
        As such, Plaintiff’s state law claims against Jensen and Aivazi are barred
  by the privilege.
        Statute of Limitations
        Jensen contends that Plaintiff’s claims are barred by Cal. Civ. Proc.
  Code § 340.6(a), which imposes a one-year statute of limitations and applies to



                                          8
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 9 of 17 Page ID #:777




  misconduct within the scope of an attorney’s “performance of professional
  services.” See Jensen MTD at 13-14.
        In Lee v. Hanley, the California Supreme Court concluded that “section
  340.6(a)’s time bar applies to claims whose merits necessarily depend on proof
  that an attorney violated a professional obligation in the course of providing
  professional services.” 61 Cal. 4th 1225 (2015). The relevant question is
  “whether the claim, in order to succeed, necessarily depends on proof that an
  attorney violated a professional obligation as opposed to some generally
  applicable nonprofessional obligation.” Id.
        Here, Plaintiff’s claims do not appear to be subject to section 340.6, even
  though the alleged misconduct occurred during Jensen’s legal representation of
  Rex in the Probate Action. Plaintiff’s claims that Jensen was part of a deep
  conspiracy to defraud the Trust do not “necessarily depend” on Jensen having
  violated a professional obligation. The Court will not dismiss Plaintiff’s claims
  on statute of limitations grounds.
        Judicial Defendants MTD
        Among other things, the Judicial Defendants argue that the Court lacks
  subject matter jurisdiction pursuant to the Younger abstention doctrine, and
  that the FAC is barred by the Eleventh Amendment and absolute judicial
  immunity. See Dkt. 45.
              Younger Abstention
        Under Younger and its progeny, the Supreme Court broadened the
  abstention doctrine to protect principles of federalism and comity by
  preventing the federal courts from interfering substantially with certain
  ongoing state judicial proceedings. See Younger v. Harris, 401 U.S. 37 (1971).
  Younger abstention “is appropriate only when the state proceedings: (1) are
  ongoing, (2) are quasi-criminal enforcement actions or involve a state’s interest
  in enforcing the orders and judgments of its courts, (3) implicate an important


                                          9
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 10 of 17 Page ID #:778




  state interest, and (4) allow litigants to raise federal challenges.” Cook v.
  Harding, 879 F.3d 1035, 1038-39 (9th Cir. 2018) (citations omitted).
        Here, all four criteria appear to be met. First, the docket in the Probate
  Action indicates that the case is ongoing. See Dkt. 46, RJN Ex. 1. On August
  3, 2023, Plaintiff filed a notice of appeal regarding the state court’s denial of his
  motion to vacate the March 6, 2019 order. See id., RJN Ex. 4. Second, this
  case involves the state’s interest in enforcing the judgment issued in the
  Probate Action and the pending appeal. See Penzoil Co. v. Texaco, Inc., 481
  U.S. 1, 12-13 (1987) (“States have important interests in administering certain
  aspects of their judicial systems.”). Third, the enforcement of orders and
  judgments, such as those issued in the Probate Action and the pending appeal,
  constitute important state interests. See id. at 13-14. Fourth and finally,
  Plaintiff has an adequate opportunity to litigate any federal claims by way of
  the current appeal of the orders issued in the Probate Action or by writ
  petition.
        Plaintiff asserts that the Younger abstention doctrine does not apply for
  two reasons. First, Plaintiff argues that Younger “applies only to criminal
  prosecutions.” Judicial Opp’n at 12. Younger applies if the federal action
  involves ongoing: (1) “state criminal prosecutions”; (2) “civil proceedings that
  are akin to criminal prosecutions”; or (3) civil proceedings that “implicate a
  State’s interest in enforcing the orders and judgments of its courts.” Sprint
  Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 73 (2013). Plaintiff’s lawsuit challenges
  various orders issued by judicial officers in the Probate Action, which falls
  within the third category. See New Orleans Pub. Serv., Inc. v. Council of City
  of New Orleans, 491 U.S. 350, 368 (1989) (holding that under Younger
  abstention, federal courts should not enjoin pending civil proceedings
  involving “orders that are uniquely in furtherance of the state courts’ ability to
  perform their judicial functions”).


                                           10
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 11 of 17 Page ID #:779




        Second, Plaintiff argues that that Younger does not apply because the
  state court cannot be trusted. See Judicial Opp’n at 15-16. Younger abstention
  is not appropriate in the “extraordinary circumstance that the state tribunal is
  incompetent by reason of bias.” Gibson v. Berryhill, 411 U.S. 564, 577-78
  (1973). However, one alleging bias must offer “actual evidence to overcome
  the presumption of honesty and integrity in those serving as adjudicators.”
  Canatella v. California, 404 F.3d 1106, 1112 (9th Cir. 2005) (citation omitted).
  Here, Plaintiff’s conclusory allegations of bias are insufficient to warrant this
  exception to the Younger doctrine. The fact that Plaintiff disagrees with
  decisions made in the Probate Action does not come close to the required
  showing that there is an institutional bias that hinders the presentment or
  resolution of Plaintiff’s claims.
               Eleventh Amendment
        The Judicial Defendants contend that the Eleventh Amendment bars this
  action because they have been sued in their official capacity. See Judicial MTD
  at 15-16.
        “The Eleventh Amendment bars individuals from bringing lawsuits
  against a state for money damages or other retrospective relief.” Arizona
  Students’ Ass’n v. Arizona Bd. of Regents, 824 F.3d 858, 864 (9th Cir. 2016)
  (cleaned up). State officials sued in their official capacities are generally
  entitled to Eleventh Amendment immunity. See Flint v. Dennison, 488 F.3d
  816, 825 (9th Cir. 2007); see also Brown v. California Dep’t of Corr., 554 F.3d
  747, 752 (9th Cir. 2009) (“California has not waived its Eleventh Amendment
  immunity with respect to claims brought under § 1983 in federal court.”).
        Plaintiff argues that the Eleventh Amendment “does not bar lawsuits
  against individuals, such as the moving Defendants, who are sued in their
  official capacity.” Judicial Opp’n at 17. That is not correct. The Eleventh
  Amendment plainly applies to the Judicial Defendants, who serve as judicial


                                           11
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 12 of 17 Page ID #:780




  officers or employees and are being sued in their official capacity. See
  Simmons v. Sacramento Cnty. Superior Ct., 318 F.3d 1156, 1161 (9th Cir.
  2003) (“Plaintiff cannot state a claim against the Sacramento County Superior
  Court (or its employees), because such suits are barred by the Eleventh
  Amendment.”); see also Greater L.A. Council on Deafness, Inc. v. Zolin, 812
  F.2d 1103, 1110 (9th Cir. 1987) (holding that state courts are arms of the state
  for Eleventh Amendment purposes); Vierria v. Cal. Highway Patrol, 644
  F.Supp.2d 1219, 1232 (E.D. Cal. 2009) (concluding that pursuant to the
  Eleventh Amendment, state employees sued in official capacity could not be
  held liable under RICO).
               Absolute Judicial Immunity
        The Judicial Defendants argue that they are entitled to absolute judicial
  and quasi-judicial immunity from liability in this lawsuit. See Judicial MTD at
  16-19.
        “[J]udicial immunity is an immunity from suit, not just from ultimate
  assessment of damages.” Mireles v. Waco, 502 U.S. 9, 11 (1991) (per curiam).
  It “is not overcome by allegations of bad faith or malice, the existence of which
  ordinarily cannot be resolved without engaging in discovery and eventual
  trial.” Id. There are two situations in which judges are not absolutely immune
  from liability arising out of official conduct. “First, a judge is not immune from
  liability for nonjudicial actions, i.e., actions not taken in the judge’s judicial
  capacity. Second, a judge is not immune for actions, though judicial in nature,
  taken in the complete absence of all jurisdiction.” Id. at 11-12.
        Plaintiff contends that he is not suing the Judicial Defendants for their
  judicial decisions, but for their “acts that go beyond their legal jurisdiction in
  depriving Plaintiff of his constitutional rights and privileges as well as his rights
  as a litigant in his courtroom.” Judicial Opp’n at 18. But Plaintiff’s allegations
  plainly concern the Judicial Defendants’ actions taken in the Probate Action.


                                            12
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 13 of 17 Page ID #:781




  See e.g., FAC ¶ 145 (“Defendant Nord . . . issued the COVERT order without
  proper foundation, knowledge or legal cause.”). Otherwise, Plaintiff offers the
  conclusory allegation that the entire Superior Court probate division is “deeply
  involved in the illegal RICO enterprise.” Id. ¶ 193. The Court “is not required
  to accept legal conclusions cast in the form of factual allegations if those
  conclusions cannot reasonably be drawn from the facts alleged.” Clegg v. Cult
  Awareness Network, 18 F.3d 752, 754-55 (9th Cir.1994). “Nor is the court
  required to accept as true allegations that are merely conclusory, unwarranted
  deductions of fact, or unreasonable inferences.” Sprewell v. Golden State
  Warriors, 266 F.3d 979, 988 (9th Cir. 2001).
              Finding
        Plaintiff’s claims against the Judicial Defendants appear barred by the
  Younger abstention doctrine, the Eleventh Amendment, and judicial
  immunity. The Court encourages Plaintiff not to include the Judicial
  Defendants in an amended complaint unless he can offer non-conclusory
  allegations that support an exception to the various doctrines set forth above.
        Civil RICO
        All Defendants argue that Plaintiff has failed to state a claim for civil
  RICO. See Jensen MTD at 15-18; Aivazi MTD at 10-13; Judicial MTD at 22-
  25; Barbosa MTD at 5-7.
        “The elements of a civil RICO claim are as follows: (1) conduct (2) of an
  enterprise (3) through a pattern (4) of racketeering activity (known as
  ‘predicate acts’) (5) causing injury to plaintiff’s business or property.” United
  Bhd. of Carpenters & Joiners of Am. v. Bldg. & Constr. Trades Dep’t, AFL-
  CIO, 770 F.3d 834, 837 (9th Cir. 2014) (citation omitted). “A ‘pattern of
  racketeering activity’ requires at least two predicate acts of racketeering
  activity, as defined in 18 U.S.C. § 1961(1), within a period of ten years.”
  Canyon Cnty. v. Syngenta Seeds, Inc., 519 F.3d 969, 972 (9th Cir. 2008)


                                          13
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 14 of 17 Page ID #:782




  (quoting 18 U.S.C. § 1961(5)). As is relevant here, mail fraud and wire fraud
  qualify as two predicate acts under RICO. See 18 U.S.C. §§ 1341, 1343. Rule
  9(b) requires a plaintiff to plead mail and wire fraud with particularity; the
  plaintiff must set forth the time, place, and contents of the alleged false
  representation. See California Pharmacy Mgmt., LLC v. Zenith Ins. Co., 669
  F. Supp. 2d 1152, 1159 (C.D. Cal. 2009).
        Here, Plaintiff has failed to allege facts which could reasonably be
  construed as any racketeering activity by any of the Defendants, let alone a
  pattern of racketeering activity. Instead, Plaintiff’s FAC jumbles Defendants
  together and offers conclusory allegations that are without support. For
  example, Plaintiff alleges that Defendants caused the “abuse, neglect,
  kidnapping and untimely death of Plaintiff’s brother, Rex Martin.” FAC ¶ 170.
  How any individual Defendant did that, however, is never explained.
        Plaintiff does not point to a single paragraph of the FAC that, in detail,
  sets forth the time, place or contents of a predicate act. Instead, Plaintiff’s
  Opposition states that the FAC “presents a detailed recitation of Plaintiff’s
  allegations that more than satisfies the pleading requirements.” See, e.g.,
  Jensen Opp’n at 10-11. The Court will not wade through Plaintiff’s 346
  paragraphs of allegations to piece together the facts needed to establish the
  elements of his RICO claim. See Indep. Towers of Wash. v. Washington, 350
  F.3d 925, 929 (9th Cir. 2003) (“[J]udges are not like pigs, hunting for truffles.”
  (quoting United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991)).
        Plaintiff has failed to state a claim for civil RICO.
        State Law Claims
        Plaintiff alleges a host of state law claims, including conspiracy to
  defraud, breach of fiduciary duty, fraudulent misrepresentation, unjust
  enrichment, conversion, and intentional infliction of emotional distress.
  However, as stated above, the Court finds that Plaintiff’s federal claims fail to


                                           14
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 15 of 17 Page ID #:783




  state a claim and are likely barred by the Younger abstention doctrine, the
  Eleventh Amendment, and absolute judicial immunity. Additionally,
  Plaintiff’s state law claims against Jensen and Aivazi are likely barred by the
  litigation privilege.
        If the Court dismisses all claims over which it has original jurisdiction,
  the Court may decline to exercise supplemental jurisdiction over any pendant
  state claims. See 28 U.S.C. § 1367(c)(3). The Court declines to exercise
  supplemental jurisdiction over Plaintiff’s remaining state law claims and thus
  dismisses those claims without prejudice. If Plaintiff elects to file an amended
  complaint addressing the FAC’s deficiencies, Plaintiff may reassert his state
  claims as well.
        Anti-SLAPP
        Jensen and Aivazi each move to strike Plaintiff’s FAC pursuant to
  California’s Strategic Lawsuit Against Public Participation (“anti-SLAPP”)
  statute, Cal. Civ. Proc. Code § 425.16. See Dkts. 24, 27. Both seek mandatory
  attorneys’ fees as well. See id.
        The anti-SLAPP statute deters lawsuits “brought primarily to chill the
  valid exercise of the constitutional rights of freedom of speech.” Cal. Civ. Proc.
  Code § 425.16(a). Anti-SLAPP motions can be raised in federal court to target
  state law claims. See DC Comics v. Pac. Pictures Corp., 706 F.3d 1009, 1013
  n.5 (9th Cir. 2013) (“We have held that [an anti-SLAPP] motion is available
  against state law claims brought in federal court.”).
        The Ninth Circuit has held that “granting a defendant’s anti-SLAPP
  motion to strike a plaintiff’s initial complaint without granting the plaintiff
  leave to amend would directly collide with Fed. R. Civ. P. 15(a)’s policy
  favoring liberal amendment.” Verizon Del., Inc. v. Covad Commc’ns Co., 377
  F.3d 1081, 1091 (9th Cir. 2004). Although Plaintiff has already amended his
  complaint, this is the first time that the Court has been asked to adjudicate the


                                           15
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 16 of 17 Page ID #:784




  sufficiency of its pleading. Striking Plaintiff’s state law claims without leave to
  amend would thus “directly collide” with Rule 15’s liberal amendment policy.
  See id.
        In light of the above, the Court denies Jensen and Aivazi’s anti-SLAPP
  motions to strike and requests for fees and costs without prejudice at this time.
  Defendants may renew their motions if Plaintiff includes amended state law
  claims in his amended complaint. See id. at 1091 (“If the offending claims
  remain in the first amended complaint, the anti-SLAPP remedies remain
  available to defendants.”); Version2 Tech., Inc. v. NeilMed Pharms., Inc., No.
  16-04720, 2016 WL 6611015, at *8 (N.D. Cal. Nov. 9, 2016) (denying anti-
  SLAPP motion without prejudice to renewing it or to raise a new anti-SLAPP
  motion, depending on the content of the amended complaint); Wynn v.
  Chanos, 75 F. Supp. 3d 1228, 1231 n.1 (N.D. Cal. 2014) (declining to address
  merits of defendant’s anti-SLAPP motion because complaint was dismissed
  with leave to amend, but permitting defendant to re-raise the motion after time
  for pleadings passed or if he otherwise prevailed).
        Leave to Amend
        Leave to amend should be granted if it appears possible that the defects
  in the complaint could be corrected, especially if a plaintiff is pro se. Lopez v.
  Smith, 203 F.3d 1122, 1130-31 (9th Cir. 2000); Cato v. United States, 70 F.3d
  1103, 1106 (9th Cir. 1995) (“A pro se litigant must be given leave to amend his
  or her complaint, and some notice of its deficiencies, unless it is absolutely
  clear that the deficiencies of the complaint could not be cured by amendment.”
  (citing Noll, 809 F.2d at 1448)).
        Here, the Court has concerns about Plaintiff’s ability to fix the
  deficiencies identified in this Order. Nevertheless, the Court will afford




                                           16
Case 2:23-cv-04642-VBF-DFM Document 60 Filed 11/17/23 Page 17 of 17 Page ID #:785




  Plaintiff an opportunity to amend.
                                    CONCLUSION
        IT IS ORDERED THAT:
        1.    The Clerk shall send Plaintiff a blank civil rights complaint form
  and a Notice of Election form. The Notice of Election form has three options.
  Plaintiff may choose ONE option and return the form to the Court within
  thirty-five (35) days of the date of this Order. The options are:
              a.     Option One. Voluntarily dismiss this lawsuit pursuant to
  Federal Rule of Civil Procedure 41(a)(1)(A).
              b.     Option Two. Elect to stand on the First Amended
  Complaint, understanding that the Court may recommend that the District
  Judge issue an order dismissing Plaintiff’s claims with prejudice.
              c.     Option Three. If Plaintiff believes that true additional
  factual allegations would state a claim, he may file an amended complaint
  curing the deficiencies identified by the Court in this Order within thirty-five
  (35) days. The amended complaint should bear the docket number assigned to
  this case, be labeled “Second Amended Complaint,” and be complete in and of
  itself without reference to the Complaint or any other documents (except any
  documents that are attached to the Second Amended Complaint as exhibits).
        2.    If Plaintiff fails to act within thirty-five (35) days, the Court will
  recommend that this case be dismissed for failure to prosecute.




   Date: November 17, 2023                      ___________________________
                                                DOUGLAS F. McCORMICK
                                                United States Magistrate Judge




                                           17
